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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK




RUBIK’S BRAND LIMITED,

                     Plaintiff,
                                                  Civil Action No. 1:17-cv-6559 (PGG)
             -against-
                                                  CONFIDENTIAL VERSION
FLAMBEAU, INC.,

                     Defendant.


                  DEFENDANT FLAMBEAU, INC.’S APPENDIX
                TO RULE 56.1 STATEMENT OF MATERIAL FACTS
            IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

Exhibit                         Description                           Bates Range
   1      Declaration of Mike Burke
   2      U.S. Registration No. 5,920,928
   3      Duncan 3x3 Quick Cube Photo                           FLAMBEAU001444
   4      Duncan 3x3 Quick Cube Packaging                       FLAMBEAU000690
   5      Duncan 3x3 Quick Cube Packaging                       FLAMBEAU000428
   6      Duncan Website Printout - Quick Cubes                 FLAMBEAU000426
   7      Duncan Website Printout - Quick Cube 3x3              FLAMBEAU000429-431
   8      Duncan Catalog Excerpt                                FLAMBEAU000848
   9      WCA Regulations and Guidelines                        FLAMBEAU002484-2502
  10      Declaration of Bennett Berson
  11      May 28, 2015 E-mails                                  FLAMBEAU001080
  12      January 26-28, 2016 E-mails                           FLAMBEAU001085
  13      January 28-February 1, 2016 E-mails                   FLAMBEAU001087
  14      November 11, 2016 E-mail                              FLAMBEAU001090
  15      Declaration of Jessie N. Roberts and Expert Report
  16      Declaration of Lee Loetz and Expert Report
  17      Declaration of Anita Marie Boor
  18      U.S. Patent No. 3,655,201 (Nichols)                   FLAMBEAU001072-1079
  19      Japanese Patent No. 53-120946 (Ishige) and            FLAMBEAU001578-1587
          Translation
  20      Hungarian Patent No. 170062 (Rubik) and Translation   FLAMBEAU000631-648
  21      Belgian Patent No. 887,875 (Rubik) and Translation    FLAMBEAU000602-630
  22      Hungarian Patent No. 180387 (Rubik) and Translation   FLAMBEAU000649-666
  23      U.S. Patent No. 4,378,116 (Rubik)                     FLAMBEAU000667-671
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Exhibit                        Description                            Bates Range
  24      U.S. Patent No. 4,378,117 (Rubik)                    FLAMBEAU001361-1364
  25      U.S. Patent No. 4,409,750 (Silbermintz)              FLAMBEAU001365-1378
  26      U.S. Patent No. 6,626,431 (Possidento)               FLAMBEAU001678-1684
  27      U.S. Patent No. 7,644,924 (Horowitz)                 FLAMBEAU001685-1695
  28      U.S. Patent No. 4,421,311 (Sebesteny)                FLAMBEAU001383-1395
  29      U.S. Patent No. 3,081,089 (Gustafson)                FLAMBEAU001061-1066
  30      UK Patent Application 2489619 (Perrin)               RBL_009260-9301
  31      April 5, 1982 Trademark Application                  FLAMBEAU000039-42,
                                                               249, 253-257
  32      July 27, 1982 Office Action                          FLAMBEAU000043
  33      September 7, 1982 Response and Amendment             FLAMBEAU000044-47
  34      January 17, 1983 Office Action                       FLAMBEAU000097
  35      May 31, 1983 Response                                FLAMBEAU000098-161
  36      Notice of Publication                                FLAMBEAU000235
  37      U.S. Registration No. 1,265,094                      FLAMBEAU000279
  38      October 2, 1984 Decision in Moleculon Research       FLAMBEAU002065-2087
          Corporation v. CBS, Inc., No. 82-289 (D. Del.)
  39      June 19, 1985 Brief for Appellant in CBS, Inc. v.    FLAMBEAU002006-2025
          Moleculon Research Corporation, No. 85-2096 (Fed.
          Cir.)
  40      May 16, 1986 Decision in Moleculon Research          FLAMBEAU002051-2064
          Corporation v. CBS, Inc., No. 85-2096 (Fed. Cir.)
  41      July 6, 1987 Decision in Moleculon Research          FLAMBEAU002088-2092
          Corporation v. CBS, Inc., No. 82-289 (D. Del.)
  42      April 5, 1989 Decision in Moleculon Research         FLAMBEAU002093-2096
          Corporation v. CBS, Inc., No. 87-1594 (Fed. Cir.)
  43      Excerpts of Rubik’s Product Book                     RBL_000245, 246, 260
  44      Rubik’s Quick Reference Guide                        RBL_005449
  45      October 24, 2019 decision in Rubik’s Brand Ltd. v.   FLAMBEAU003131-3151
          EUIPO & Simba Toys, GmbH, Case T-601/17
  46      Rubik’s Color Chart                                  RBL_006075
  47      Using Official Rubik’s Cube Colors                   FLAMBEAU002551-2552
  48      TSDR Information for ‘094 Registration               FLAMBEAU000001-7
  49      New Rubik’s 3x3 Cube                                 FLAMBEAU000337-338
  50      How to Solve the 3x3 Rubik’s Cube?                   FLAMBEAU000281-288
  51      Solution Guide 3x3 Rubik’s Cube                      RBL_000661-672
  52      Meeting the Cube Lesson 1 Guide                      RBL_000339-356
  53      The White Cross Lesson 2 Guide                       RBL_000395-409
  54      Color Wheel #1                                       Deposition Ex. 140
  55      Color Wheel #2                                       Deposition Ex. 141
  56      Check List for Solving the Rubik’s Cube              RBL_002692
  57      The Rubik’s Cube Color Schemes                       FLAMBEAU002109-2113
  58      “Children of the Cube” New York Times Article        FLAMBEAU002607-2623


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Exhibit                          Description                           Bates Range
  59      November 10, 2016 decision in Simba Toys GmBH v.        FLAMBEAU000552-560
          EUIPO & Seven Towns, Ltd, Case C-30/15 P
  60      Excerpts of Deposition Transcript of Holly Riehl
  61      Excerpts of Deposition Transcript of David Kremer
  62      Excerpts of Deposition Transcript of Richard Gottlieb
  63      Excerpts of Deposition Transcript of Rany Simms
  64      Excerpts of Deposition Transcript of Ronald Vollmar
  65      Excerpts of Deposition Transcript of Mark Cipolla
  66      “Cube is a Problem for CBS” New York Times              FLAMBEAU002026-2028
          Article
  67      Excerpts of RBL’s Third Amended Responses to
          Second Set of Interrogatories
  68      Excerpts of RBL’s First Amended Responses to Third
          Set of Interrogatories
  69      Excerpts of RBL’s Second Amended Responses to
          First Set of Requests for Admission
  70      Rubik’s Interactive Style Guide                         RBL_003626-3631
  71      The Ideal Solution Guide                                FLAMBEAU002460-2475
  72      Scientific American Article Excerpts                    FLAMBEAU001149, 1153,
                                                                  1156, 1170, 1175-1182,
                                                                  1184, 1186, 1189, 1193
  73      “Rubik’s Cube: A Craze Ends” New York Times
          Article
  74      Rubik’s Geek Tool Kit                                   BOSTONA_000033-34, 38-
                                                                  40, 42, 51

       Respectfully submitted this 22nd day of June, 2020.


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 22, 2020, per Judge Gardephe’s Rule IV.C,

the foregoing document was served on counsel of record for Plaintiff via e-mail:


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